


















NUMBER 13-06-556-CV


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


_______________________________________________________


JAMES CARROLL,		Appellant,


v.



JOAN CASTANON F/K/A JOAN CARROLL,	Appellee.

_______________________________________________________


On appeal from the 288th  District Court


of Bexar County, Texas.


_______________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Yañez and Garza


Memorandum Opinion Per Curiam


	Appellant, JAMES CARROLL,  perfected an appeal from a judgment entered by
the 288th District Court of Bexar County, Texas, in cause number 1998-CI-09347. 
The notice of appeal was filed on September 1, 2006.  Pursuant to Tex. Gov't Code
§51.207(b)(1) and § 51.941(a)(1), a filing fee in the amount of $125.00 is due upon
the filing of an appeal.  To date, appellant has failed to pay the filing fee.  

	On November 20, 2006, pursuant to Tex. R. App. P. 42.3(c), notice was given
to appellant that he was delinquent in remitting this filing fee and that, unless the filing
fee was paid within ten days from the date of receipt of this Court's notice, this appeal
would be dismissed.   To date, appellant has failed to respond to this Court's notice.

	The Court, having considered the documents on file and appellant's failure to
comply with the rules, is of the opinion that the appeal should be dismissed.  The
appeal is hereby DISMISSED.

							PER CURIAM

Memorandum Opinion delivered and filed this

the 28th day of December, 2006.


